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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                      Case No: 1:13-cr-10

v.                                                            HON. JANET T. NEFF

PEDRO HEREDIA-PRIETO,

              Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed June 25, 2014 by the United

States Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 158) is APPROVED and

ADOPTED as the opinion of the Court.

       2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge

set forth in Count One of the First Superseding Indictment.

       3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: July 17, 2014                                 /s/Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
